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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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IN RE PAYMENT CARD INTERCHANGE FEE                                          ORDER TO
AND MERCHANT DISCOUNT ANTITRUST                                             SHOW CAUSE
LITIGATION
                                                                            05-MD-1720 (MKB) (JAM)
This document refers to: ALL ACTIONS

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JOSEPH A. MARUTOLLO, United States Magistrate Judge:

          In light of the alleged fraudulent activity associated with the website cardsettlement.org and its

referral partner, Merchant Stronghold (see Dkt. Nos. 9489, 9495), and following a December 11, 2024

status conference before the undersigned, the Court orders as follows: 1

          A.      Until further order of the Court, and as discussed at the December 11, 2024 status

conference, cardsettlement.org shall not submit any new claims or contracts to Epiq.

          B.      By December 16, 2024, cardsettlement.org shall:

                  1.      Provide a written response to the Court explaining why all of cardsettlement.org’s

claim-filing contracts should not be cancelled, at cardsettlement.org’s expense;

                  2.      Provide a written response to the Court outlining why cardsettlement.org should

not be permanently barred from any settlement-related services;

                  3.      Provide a written response explaining why, based on its admission that numerous

fraudulent contracts have been filed with Epiq, sanctions should not be imposed—including, but not

limited to, the payment of all administrative costs (to be estimated by Epiq) associated with the

cancellation and notice provision, to all class members who signed up for claims-filing services with

cardsettlement.org or its referral partners that were then submitted by it to Epiq. Such sanctions may also



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    The present Order to Show Cause supersedes the prior Order to Show Cause, at Dkt. No. 9493.
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include payment of all administrative costs incurred by Epiq related to this matter and the notice provision

is to be reviewed and approved by Class Counsel;

               4.      Cardsettlement.org shall provide the Court and Class Counsel with a complete list

of referral partners and agents as well as all versions of written processes and procedures, including the

dates that processes and procedures were implemented, that have been provided to such partners and

agents to sign up merchants for third-party claim filing services and confirm that merchants had, in fact,

consented to sign up for cardsettlement.org’s claim filing services; and

         C.    By December 16, 2024, Merchant Stronghold shall:

               1.      Provide a written response to the Court outlining why Merchant Stronghold should

not be permanently barred from any settlement-related services following the admission that it signed up

merchants for claims-filing services without their knowledge or consent.

               2.      Provide all written processes and procedures that were implemented, and the date

of implementation, associated with signing up merchants for third-party claim filing services by

cardsettlement.org and to confirm that that merchants had in fact consented to sign up for

cardsettlement.org’s claim filing services.

         D.    By December 20, 2024, Class Counsel shall file a response to cardsettlement.org and

Merchant Stronghold’s December 16, 2024 filing(s), if any.

         E.    Class Counsel are hereby directed to serve a copy of this order on cardsettlement.org and

Merchant Stronghold in the manner most likely to constitute timely and effective notice and file proof of

service by 12:00 p.m. EST on December 12, 2024.

Dated:         Brooklyn, New York                    SO ORDERED.
               December 11, 2024
                                                       /s/ Joseph A. Marutollo
                                                     JOSEPH A. MARUTOLLO
                                                     United States Magistrate Judge



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